AUG/ZO/2013/-0UB 1564 ofl AD WANTEDGE BUSINESS 20/13 FAK Me BOR OWBOI2E815:22:49 Page100216

DEBTOR: 7/ Cty Lew 77e EVsyison) MONTHLY OPERATING REPORT

CASE NUMBER: |

Accounting Method:

3—-/4032 MER -

CHAPTER 11

Form2-A
COVER SHEET —

-° ForPeriod Ending)? — 3 f ~(3)

LJaccrual Basis

Ralcosh basis

 

 

_ Mark One Box fer Each

THIS REPORT IS DUE21 DAYS AFTER THE END OF THE MONTH

-Dablor must attach each of the follwing repersidacemanis untess the U.S. Trustes
has walved the requiremant in-wiiling. ‘Fie the original with the Clerk af Coust.
Submit-a duplicate, with original signature, ta tha U.'6, Trustee.

 

|
‘RepartDocumunt fete sty
Attached Walved

|

OBR

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REQUIRED REPORTS/DOCUMENTS
4. Cash Recelpts.end Disureements Statement (Form2-B)
2. Balance Sheet (Form.2-C)
3. Profit and Loss Statement (Form 2-D)
4, Supporting Schedules (Farm 2-E)
5. Quarterly Fee Summary (Form.2-F)

&. Narrative (Form2-G)
weus Fane

‘7, Bank Statements for Ail Bank Accounts 22) ‘s baion) *
IMPORTANT: Redact-aceount numbers and remove check Images

8. Bank Statement Reconciliations for all Bank Accauntsy 4.0 |
, —umy,

 

 

I declare under penalty of perjury that the following Monthly Operating Report, and any
attachments thereto are true, accurate and correct to the best of my knowledge and belief.

3. Print Name: VEN. - gy Bt §-Ord -
Signature: Fa

Executed on:_ 8 )

 

Title:

 

Rev. 12/10/2009
 

 

 

 

 

 

 

AUG/20/, T .
COLSCTHE {bE he RADVANTEDGE BUSINESS, 0/13 FA Har@O308070824315:22:49 Pag@200316
! ‘+ .
Wells F Opportunity Checking”
ells Fargo Opportunity Checking
Accountnumber: = |... ‘am July 8, 2013- duly 19, 2013 =m Page 1 of 3
Questions?
TERRY L EVANSON: . Available by phone 24 hours a day, 7 days a week:
DEBTOR IN FOSSESSION 1-B00-TO-WELLS (1-800-860-2557)
CH 11 CS 13-18032 (CO) ‘| TTY:1-800-877-4833
10175 ONEIDA ST | &n espafiol: 1-877-727-2932
’ LIFTLETON CO 80124-9608 3298 1-000-288-2288 (6am to7 pm PT, M-F)
Online: wellsiargo.com
: Write; Wells Fargo Bank, N.A. (163)
\ . ‘P.O. Box 5247
\ Denver, CO 80274
You and Wells Fargo Account options
Thank you fordeing a loyal Wells Fargo customer. We value your trustinour . _ Acheok mark in the box indicates you have these
company and look forward to continuing to serve you with your financial needs. : convenient services with your account. Go to
' wellsfargo.com or caf the numbar above if you have
: questions of If you weuld like to add naw services.
Online Banking Direct Deposit CT]
Online Bill Pay [7] Auto TransferPayment [7]
Online Statements  ["} Overdraft Protection [[]
Mobile Banking (CC Debit Card
My Spending Report Overdratt Service oO
|
Activity summary _] Account number: 9706143576
gining onpe “ DEBTOR nT POSSESSION
Depesns/Addhions 4,629.51 :
‘Withdrawals/Bubtractions ~ 0.00 | Citt cS 19-10032 (C0) tone
ing balan 7A 3 ‘| Colorado account temme and conditions apply
Eneling belance on A288 4 For Diract Deposit and Automatic Payments use
| Routing Numbar (RTN): 102000076
Overdraft Protection

This account ig not currantly covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and elighility requirements
please call the number fisted on your statement or visk your Wells Fargo store.

 

Sneel Seq + 0088411
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AUG/20/201 3/1 + bbosaMhe RO SEEDS BES NESSS 20/13 FALE Mer d0808020126315:22:49 Pagespge16

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account numper: 2 duly 8, 2013 - July 19,2013 = Page 2 of 8
‘Transaction history,

: Chock Deposits/ Withetrawals/ Ending daily
Cate Number Descriztion Additions °- Subtractions balance
we: Deposit Made In A Branch’Store 60:00 60.00
7a. Depasit Made In A Branch/Store ‘ 333,23 $53.23
TAT Depoait Mado In A Branch/Store : 4,236.28 4,829.51.
Ending balance on 7/419 " 4,629.51
“Totals $4,62051 $0.00

The Ending Daily Ba Goes not reflect any pending withdravails or holds on deposited funds that may have been cutstanding on your account when your
transactions posted. iflyou had insuffident available funds when a transaction posted, fees may have been assessad.

Monthly aervice fee summary

Fer a complate Est of teas and | detaited account information, please see the Wells Fargo Fee and information Schedule and Accaunt Agreement applicabis to
your account or talk toa banker, Go to wallafargo.convieetag to find answers to common questions about the monthly service fee on your.account,

Fee period 07/08/2013 - 07/19/2013 Standard monthly service fee $12.00 You paid $0.06
to expire. You will need to mest the requirement(s) to avoid tha monthly service fea. You have up to 80 calendar days fram

 

 

Your fee waiver is
07/08/2013 to complate the package requirements.
How to aveld tha: mohthly service tee (completo t AND 2) Minimum required . This tee period
1) Have any ONE of the following 2ocount requirements
+ Minimum daily balance $2,000.00 $60.00 [)
* Total amount of qualifying direct dsposits $750.00 $0.00 o
10 0

> Total number of Wells Fargo debit card purchases and/or paymenta
2) Complete the packega requirements
- Have qualifying linked accounts cr services in saparate categories” 3 0
|
Monthly aervice-fea discount(s) (applied whan.bax is checked)

Cniina only statements (reduces monthly service fee.by $2.00) Oo
“Includes Wells Fargo consumer accounts and services euch ss debit card, savings accounts, active Online Banking, credit card, loans and lines of credit.
MLA

 
AUG/20/ CSET 1908 Mer DANTE BURANESS/20/13 FAknMer@ODEMIOAGI5:22:49 Pagd4 QG5L6

.
- Account number:
' s

am duly 8, 2013 - July 18, 2013 .« Page 3af3

 

 

Worksheet to balance your account

Follow the steps'‘below to faconcile your statement balance with your

éccount register balance. ‘Be gure that your register shows any Interest
. Paid Into your account and any service charges, automatic payments or

ATM transactions withdrawn from your account during this atatement _

’ pariod,

: fa] Enter the ending ‘estanel on'this etatement.

(B} List outstanding deposi

and other

credits to your account that da not appear on

this elatement. Enterthe tone

to the tight.

in the cotuma

 

Description

Amount

 

 

 

 

 

 

 

 

Total | $

 

 

[6} ada[A] ana [B) to catcutzte the subtotal.

[D) bist outstanding checks, withdrawals, and

othar dabits to your account

do not appear

on this statement, Enterthe total in the column

to the right.

 

Number/Oeseription

Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(E] Subtract [B] trom ([G] to calculate the
adjusted endingbalance. This amount should be

the same as the current balance
register. 1

Sheet Soq = 0009412
Sheet C0002 of 00002

 

shown in your

ej

 

Goneral statement policies for Walls‘Fargo Bank

va To disputp or report Inaccuracies in information we have furnished to.a
Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of Information that Wella Fargo Bank, N.A. has
fumished to a consumer reporting agancy by. writing to us at Walls Fargo
Servicing, P.O, Box 14415, Das Moines, (A 60308-3415, Please describe the
specific information that Is inaccurate-or in diapute and the basla for tha
dispute along with supporting documentation. If you believe the
Information fumished ls the rasult of Wentty theft, please provide us with

. an identity thaft report.

@ incase of errors or questions about your éleetronic’ transfers,

telephone us at the number printed on the front of this statement or write
us.at Wells Fango Bank, P.O, Box 6995, Portland, OR 97228-8995 ae soon as
you can, if you think your statement oF receipt is wrong or if you need more
Information about a transfer an the statement or receipt. We must hear

" from you no later than 60 days after we sent you the FIRST statement on
whieh the error ar problem appeared.

1. Tell us your name and account number (if any).

2. Deseribe the error or the transfer you are unsure about, and explain as
claarly.as you can why you beileve (t Is an error or why you need more
Information,

3. Tell us tha dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. if
we take more than 10 busmess daya to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the thme Ht takes us {0 complete cur investigation.

am In case of strors or queations about your Diract Deposit Advance”

service

It you think your bill | wrong, or if you need more information about a
trangaction on your bill, write us at Wells Fargo Bank, F. O, Box 8985,
Portland, OR 97228-6925 as soon as possibie, We must hear from you no
later than 60 daya aftar we sent you tha firat bili on which the error or
problem appeared, Yau can telephone us, but doing so will nat preserve
your tights.

tn your latter, give us the foltowing Information:

4. Your name and account number

:2. The dollar amount of the suspected error

*$. Describe the error and explain, if you can, why you believe there Is an
error. If you need mora intcrmation, describe the item you are.unsure
about.

You do not have te pay any amount In question while we are investigating,
but you are still obligated to pay the parts af your bill that are not in
question. While we Investigate your question, we cannot repert you a8
Calinquent or take any action ta callect the amount you question.

2010 Wells Fargo Bank. NLA. As tights resecved NMLER IO 359001 tember FOC. tines
AUG/20/20) 3/1)E. tae i BUS UNESS 20/13 FARrHerO309070423315:22:49 Pagesgqg16
07 VW JETTA 24

 

 

07 Vw JETTA. 2401 ‘161 , Balance $5,075.20
Jul 1 - Jul 31, 2013 lustom . : . Available credit $0.00
Amount due $377.59
| Next due 09/15/2013
: |
Date Description Amount ' Balance
07/31/2013 | PAYMENT / SBI 0731 1704 377163 9220 Park Maadows $377.59} - $5,455.50
. D a a .
rive Lone Tree CO Principal ~$326.93
Interest $35.66
Feo $15.00

 

 

 

 

 

 

**This balance may include overdraft or line of credit funds.

Ir

[bbe Deere Yeon frm bint

 

itps://www redrobks.org/tob/live/usp-core/sdp/com.diginsite.product.sdp.SDP/historypag... 8/20/2013

1151 — Jul 1 - Jul 31, 2013 Custom © Pagelofl -—
AUG/20/2O013/708 156

Wells Fargo Account Activity

 

’ Account Activity

GHECKING 2000000576

Activity Summary

. Wells Fargo Ontine®

 

si seee Sulaseewweceesecs

"$5,276,948

 

Pending Windrawals! Oshits

$68.18

 

Pending Deposits! Cracita

$0.00

 

Available Batance

$8,187.76

 

 

“The Avaifable Balance ehown

feflect any pending withdrawals:

when the Gansaction posted to
Transactions

 

 

holds on deposited funds thet may have bean
account fees may have been assesaed.

T
Show: for Date Rango 071083 to 07/91/13

{stale

2 reflocts the moat up-to-date information avaliable on your account ‘The bat=nces shown below next to the iaat transaction of exch day do net
Outstanding en your sccount when the transection posted. Hf you had Insufficient avaialte funds

ANE ADIINTEDGE HRANESS/20/13 FAlnWardODERDADAS: 22:49 Pagdb 076

Page 1 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date 4 Desertpton Deposits /Credits | Withdrawala / Debits C Enciing Dally
Balance
Pending Tremsactions Not Amounts may change
No pending transactions meet your ovtiarta above,
Posted Tramssctioas
vrei =| CHECK a1 Ken Koces Co Upter sarrsa} (37,227.78!) afr 12
ovis | RETURN ITEM CHARGE -PAPER MN 130731 *> pila atihe ET “g00f 00 ~—
O73} CASHEDDEFOSITED (TEM RETN UNPAID FEE CHECK ° $12.00
0779143 .{ DEPOSIT MADE IN A BRANGH/STOREW650547876 $1,020.00
o7z0H3 Sree 02 (Converted ACH) XCEL ENERGY XCELENERGY 130730 00102 are ITIES $488.07 936,703.97
OTSCNS | POS ies JETRO HOLDINGS LLC GREENWOOD VILCO 4078 $305.70
0036621 1676576844 at s2S*
o7sons | Pos runcies HOB LOB 117 8181 6 Q Centennial CO-4079 4 #10086
onsoe21 16389721 13
O73013 | POS PURCHASE - SAMSCLUB 6634 LONE TREE CO 4078 cooov000187612828 J S73.70
OVSCN3 | Shelf Reliance Home Party 2327 Lynette P Evanson $171.00
orzens icHEcK#1o] Crary Modi - LuTrehyer $119.57 87,600.70
armens jcrecksis US TRusrss FEF $326.00
ar2ens |cHecks1od =, Tae. 5453.71
a7zans | POS PURCHASE - SAMSCLUB 6834 LONE TREE CO-4079 codon00084e528172 ) $43.19
0712813 | POS PURCHASE - KING SOOPERS.400 RED C HIGHLANDS RNCCO 4079 srr $14.87
§00468208787507497 i ceaP
071283 | POS PURCHASE - KING SOOPERS 56728 QU HIGHLANDS RNCCO 4079 $13.54
poems .
07/2913 | POS PURCHASE - SAMSCLUB 6824 LONE TREE CO 4079 60000000851615143 | 820,19
o7'z9H3 | CHECK CRD PURCHASE 07/27 PARTY CITY #510 LITTLETON CO bos $32.00
|] 43425€20000KX4079 0832087 48957387 7MCC=8993 ? Sighyd es
o7as3 | POS PURCHASE - SAMSCLUB 6834 LONE TREE CO 4079 oooa0000731823049 / |” $183.04
O7fzH3 | CHECK CRO PURCHASE 07/26 PARTY CITy #610 LITTLETON CO J $80.00
sf 42425000K4078 28320777 7308257 TMCC*S9ID
O7/28N3 POS PUR E - SPROUTS FARMERS MARKET LONE TREE CO 4070 °e £8 AKe £26.67 $8,732.84
kine .
a728ns | POS PURCHASE - KING SOOPERS 56736 OU HIGHLANDS RNGCO 4078 > $30.32
{ 00803207753447490
071203 || POS PURCHASE - SAM $ CuD LITTLETON SE CO 4079 coooonatada7sess 7] spades $164.34
o72en3 | POS PURCHASE - SAMSCLUB 6624 LONE TREE CO 4079 osocoadorsaszssea }|~ $268.08
omens it DEPOSIT “ $457.00
OTS | OEPOSIT $873.00
o726M3 | DEPOSIT $3,700.00
Totals $10,600,51 $3,272.73
| .
hftps://online.wellsfargo.com/das/cgi-bin/session.cgi?sessargs=Y UfAqSwBA-wu2f-T9ftv... 8/20/2013

 
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Wells Fargo Account Activity Page 2 of 2
Pate J Oosesiption Deposits / Credits | Withdrawals / Debits Ending Dally
Balance
O712SH3 POS PURC! E - COSTCO WHSE 0468 LONE TREE CO 4079 . ‘ 7 3136.31 $4,448.25
patsoxz07a25a5se0 SUPALIES +
o726ns {ATM WITHDRAWAL - 8235 E. LINCOLN AVE LITTLETON CO 4079 0009575 | -(AeH (mize) $20.00
o7mans | HARLAND CLARKE CHECH/AGC, 072213 00002387876488 TERRY L 20387 $24.95 $4,604.58
LYNETTE _. Whukes ‘|
O7H7M3 | OEPOSIT MADE IN A BRANCHISTORE $90884636 saze25] 0. $4,529.51
O7/08H3 j DEPOSIT MADE IN A BRANCHISTORE 8623086270 AA 09 $333.23 sazsl? 2g
O7/eaHs —} DEPOSIT MADE IN A BRANCHISTORE #623086289 2, BLU o $60.00 . 860.00 ‘
“Totals ‘ ” bir $10,600.51 $3,272.78

 

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Sa Bqual Housing Lender
@ 1995 — 2013 Wells Fargo. All rights reserved,

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https://online.well§fargo.com/das/ogi-bin/session.ogi?sessargs=YUfAqSwBA-wu2f-T9fv... 8/20/2013

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+ i ‘ “
DEBTOR: _(Ci2A4 rh mere Vins caseno: /3 “17032 mee
Form 2:8
CASH RECEIPTS:AN D DISBURSEMENTS STATEMENT
For Period: mah i3___ to “aul
CASH RECEIPTS DETAIL Account No: | 97°976:-: — |
(attach additional sheets a5 necessary) , oe ‘ .
| [_ bate] Payer i | Description | | Amount
. ~ $ LO,
alan AnuadTfg ce busiméss Glory: ie e® . / ee { pao.
. um; sito FL Av Souaz S6tuei77 — a Fz
ane . .
Ofenntdis Tae S wn  fO, BOP
Wergwas Avid DCO L Se
| Tota! Cash Roceipts $_lAIleet Te.eF (1)
(t) Total for all accounts should egree with total eash recaipts ilstod an Form 2B, pagot to Pagezot3

 
MOSES 14685, Mer SNES FURANESS 20/13 FéknNorODIODALAI5:22:49 Pagay OfyL6

pestor: (itty y Lywerre LV Apisorh CASENO: 13-140 F2MEL

‘Fom 2-B 7
CASH RECEIPTS Mey Ire wee Pay? STATEMENT

 

 

 

 

 

 

 

 

 

 

 

FarPerod: -7/; [13 10
‘GASH FLOW SUMMARY _ oe Current Lo
- Month Accumulated
4. Baginning Cash Balance . $s 1777. a 3 __: (1)
2, Geah Receipts (wes Fatoo Aeer-) 10,2077. .
- Operations
‘Sate of Assals 23
Loans/advances ‘
Total Cash Recelpis see. 8
‘3. Cash Disbursem
Operations * oe
‘Debt Service/Secured loan:payment . SEE STATE HET:
Professional fees/U.5. Trustes fees 3
Other
Total Cash Disbursements 3 Sl 3.
‘4, Net Cash Flow (Total Cash Receipts less
. Total Cash Disbursements) ‘
25
5 Ending Cash Balance (to Form 2-0) $7377. —® s (2)
CASH BALANCE SUMMARY ' Book
Sc ‘Einancial Institutian ‘Balance
Patty Gash ———z $ oy
DIP Operating Account © tes Hoo, * B76. 7327, ~
DIP State Tax Account Co
‘DIP Payroll Aecaunt or
Other Operating Account @-.
Other interest-bearing Account oy
TOTAL (must agres with Ending Cash Balance above): $ T3R7.75 ZF (2)

{f) Accumutlated docinning ash balance is the cash available at the commencement of the case,
Current month eginning cash balance should equal the previous month's ending balance. Page 1 of 3
{2} All cash baiancos should be the same. . . . > Rey, watomgnos

a ar | e'
AVG/20/2013/ Tabbed AER ARYANTEDGE BUSINESS 0/13 Futhilleed08e705/42485:22:49 PagePopo4 16

DEBTOR: Zi eh “77: Sind CASE NO: -/ § 7/703 2 1G -

Form 2-B

.” GASH RECEIPTS AND DISBURSE STATEMENT
For Period: ta PEs//s«

 

SxgH.CiauRALNENTS DETAIL . Account No: , oe |: be

(attach a additional: ‘sheets as necessary)

Fee = ‘eh .
(Pale om ae

 

  

 

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Borate uleronie Suppesr€s ' {3 “49

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US|) Tausrec FEE 528 oI
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Lye OTE CH laohatera ee
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fépsener Feed: S (2 &.

BauQuer WEPP1 IG. “1 KOLIES
Total Cash Disbursements $ bee ie7s $e E27) (1)
(9 Tata! fro acoquntssicuidagroo with tte essh disbursements listed en Farm 2-B, payo 4 . Pago 30f3

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DEBTOR: (6 ELLY ZL YVETTE Evenson: CASE NO; (2 - [96 FAME.

Form 2-C
COMPARATIVE: ‘BALANCE SHEET
For Partod Ended:

 

fe | Curent - . | Petition
ASSETS oo ce ' Month" - Date (1)
Currant Agsete: , mo
Cash (from Form 2-8, line 5) $ S$
Accounts Receivable (from Form 2-E) : : wo
Receivable from Offibers, ‘Employees, Affiliates
Inventory -
Other Current Assets *(List)

Tatal Current Ad ts $s. “ft i- _ § -
Fixed Assets: . .
Land. , $ $
Building
Equipment, Furniture: and Fixtures
Total Fixed Assets .
Lese: Accumulated Depreciation ( »¢ )
Net Fixed Assets . 3 _ 2

Other Assets (List); |

 

 

 

 

 

 

 

‘TOTAL ASSETS : $__

wages |
Post-patition Accoun{s Payable (from Form 2-E) $ . $
Post-petition Accrued Profesional Fees (from Form 2-E) .
Post-petition Taxes Payable (from Form 2-2)
Post-patitian Notes Payable
‘Other Post-petition Payable(List):

Total Post Petiion Lables $ & 3

Pre Petition Liabilities:
Secured Debt |
Priority Dabt
Unsecured Debt

Total Pre Petition Liabliitias " $ - _ $
TOTAL LIABILITIES $_ 7s
OWNERS’ EQUITY a
Owner's/Stockholder's Equity $ 8
Retained Eamings~ Prepatition .
Retained Eamings - Fost-petitian
_ TOTAL OWNERS" EQUITY . $ $
TOTAL LIABILITIES AND OWNERS’ EQUITY $_. > $

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(%) Potition dato values are toKont trons tho Debtor's halence sheat 2 ofthe potifon date or are the vatuos Page 1 of 1
sted on tia Debtor's schadulss. Rov. 127102009

 

 

 

 

 
AUG
NCase13 shia iter A one BRINE S20/13 FAY lped083703/48485:22:49 Pagep299316

DEBTOR: Teta vLhperre Lltoltod CASENO: (5 —/90 72 WEE

 

 

 

 

 

 

 

 

- Form 2-D
PROFIT AND LOSS :‘STATEME oS
ForPeriod 7/3 ‘to 7/3 1 3.
Curent "Accumulated
“Menth Total (1)
Gross Operating Revenue 47, .$
Less: Opry Retums.and Allowances ( 13993 7) ( )
Net Operating Revenue gS . 3
. Cast of Goods/Sold 4 39.3
‘Gross Profit Sit 43 3
-Operating Expenses
Officer ation 3 $
’ Selling, Generaland Administrative ,
‘Rents-and
Depreciation; Depletion and Amoriization
Other (jist): |
Total Operating Expenses , $ $
‘Operati Income (Loss) g il ' US3.~" =
Non-Operating Income and Expeness
Other Non-Operating Expenses $ 3
Gains (Losees) on Sale of Assets
interest income
Interest Ex
Other Non-O| erating Income
Net Non-Operating Income or (Expenses) 3 “as. 28. $.
Reorganization Expenses
Legal and Professional Fees $s $
Other Reorganization Expense
Total Reorganization Expenses  §$
Los "15"
Net Income (Loss) Before Income Taxes ° $ 73227 > $
Federal and State Income Tax Expense (Benefit)
a —_——
‘NET INCOME (LOSS) $ 232727 - $

: |
(y Accumaleted Tota Include all revenue end expenses singe the petition dato.
‘ . 7 Pages 1 of 1

|
|
|
ANG/20/ 201 3/TUE, UE58 Mier AVANTERGE PISINESS 20/13 Féhillncd040700/42495:22:40 Page p3gt 16

DEBTOR: Jézey v-Luwterre Lif 0.02

Federal
‘State

$

FICA Tax Withheld
Employer's FICA Tax

Unemployment Tax
Federal
State

Sales, Use .&
Excise Taxes

Property Taxes

Accrued Income Tax:
Federal
State
Other:

TOTALS 3

jBeginning

| Balance (i) Accrued _ Pald
incame Tax Withheld:

——eES

CASENO: /?“/seo2 mex.

oe Form 2-£
- -"'- SUPPORTING SCHEDULES

_ForPariod: 7 /, /1'5 to
POST PETITION:TAXES PAYABLE SCHEDULE

Amount Amount Date Check

Pald Numbor

7.

Ending
‘Balance

3 3

'$ $

(t) For first report, Beginning Balance wi! be-$0; thereafter, Beginning Balance will ba Ending Balance from prior repart,

 

INSURANCE S$ U
-Pramium
Carrier Amountof Expiration Paid
: Coverage Date “Through
Workers' Compensation . $ :
. General Liabiilty 3 hare > 3.
Property (Fire, Theft) Pam teen Prete pet $ 6 Sb, Tov wie $ gel “POV
Vehicle Pate TPeeprenet ' 8 Sd0,000 oI r/3
Other (list: ettple Crntcoen, Af Soe, ¢ SD) Cow 1% 5 {
it . $ =
Paga 1 of 2

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AUG/20/2013/TUE 11:5

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Case: 12 1903

DEBTOR: Te

ACCOU;

* Under 30 days
36 to 60 days
61 to 90 days
91 to 120 days
Over 120 days

Total Post Patition
Pre Potition Amounts
Total Accounts Recdivable

Less: Bad Debt Reserve
Nat Accounts Recaivable (te Form 2-0)

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—

CASE NO: /3 -/9032 W70
Form2-E

SUP NG SCHEDY s
For Period: SOU aL 3°

RECEIVABLE AND LOST. ETIIO, PAY: AGING

Accounts Post Petition
‘Rensivable _ Accounts Payabls

$

 

>
$
3

 

 

Total Post Patition
. Accounte Payable 3

Mak

 

 

* Attach a detail listing of accounts receivable and post-patition accounts payable
SCHEDULE OF.PAYMi STOA EYS AND: ER PROFESS

Month-end Currant ‘PFald in
‘Retalnor Month's Current Date of Mont-end
Balance Accrual Month Sourt Anproval .Bafance Dues

Debtor's Counsel 3 $ , 3 3

Counsel for Unsecured

Craditors’ Committee

Trustes’s Caunsel

Accountant

Other: _)

Total $ 3 $ §$ Aa s

 

 

“Balance duo to include fses and expenses Incurred but not yot pald.

 

 

 

SCHEDULE OF PAYMENTS AND TRANSFERS TO PRINCIPALS/EXECUTIVES™
Payee Name Pasitian Nature of Payment jount
5 4
List payntents and transfers of any kind and in ony form made to er for the banaflt at any proprietor, ov owner, —
partner, sharehotdar, officer or director. ‘os . Page 2 of 2

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MER ARYANTEDGE BUSINESS; o0/13 Pith ic33e70D/42435:22:49 Pagep.Sjog 16

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case:13-
a. °
.¢ Le
DEBTOR: [ERT ¥- L, GA CTE Eva Go CASE NO: . 1? S903 QLMME.
Form 2F
: QUARTERLY: FEE SUMMARY *
For the Month Ended: -
. Ss aah 2.” Quarterty Date
_ Month Year Disbursements ** FeeDue Check No. ‘Paid
January 3 ,
February /
March ,
TOTAL tst Quarter |‘$ ____
April ‘3 : oe
May Cree typ f 2s.
rowmdame |s ee, I~ S.b, aa/s.
. . . Y 7. :
August . .
September
TOTAL 3rd Quarier [‘$ a
October
November
December
TOTAL 4th Quarter Ls re
FEE SC as of JAN 008 vs
Subject to changes that may occur fo 28 us S.C. §4930(a)(6)
Quarterly Disbursements! Fee Diechursements . Eee
$0 10.$14,999.....,scsssseeeere. $325 #1. .000,600 to.$1,999,999,_........... $6,500
$16,000 to $74,999.........] $860 ‘$2,000,000 to $2,899,999, ___...:... $9,750
$75,000 to $149,999.......: $975 "$3,000,000 to $4,998,588.............. $10,400
$160,000 to $224,599.....! $1,625 $5,000,000 to $44,998,999 ....... $13,000
$225,000 to $299,999...! $1,950 ‘$15,000,000 to $28,969,999._.. $20,000
$300,000 to $999,995... $4,875 $30,000,000 ormore $30,000
pp
* This:‘summary Is to reflect the current calendar year's information cumulative to the end of the reperting pariod
- Should agree with line|3, Form 2-B. Disbursements are net of transfers to ether ¢ debtor in possession bank accaunts
Failure fo pay tha ae cause for conversion or dismissal of the chaptar 11 case. (tt U.S.C. Sac. 1112(b)(10)]
in addition, unpaid fees are considered a debt owed to the United States end will be essessed interest under 31 U.S.C. §3717
. Page 1 of 4
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Case:13-19635;MER DOE PURINES) 20/13 FM ed90D/42435:22:49 Pagepl Qof 16

DEBT OR: Car vlwerré Loans oe? CASENO: /3~/903.2 wre.

 

Form :2-G

NARRA’
_ For Period Ending ML Ps

- Please provide.a brief dsscription of any significant business and legal actions taken by tha debtor, its creditors,
or the court during the reporting parlod, any unusual or non-recurring accounting transactions ttiat are-reported in.
the financial statements,.and any significant changes In the financial condition of the debtorwhish have occurred _ .

subsequent to tHe report date.

 

Wow *

 

 

 

 

 

 

Page 1 of 1
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